Case 1:24-cv-00730-JMB-PJG ECF No. 1-10, PageID.61 Filed 07/16/24 Page 1 of 1
 AO 121 (Rev. 06/16)
 TO:

                Register of Copyrights                                                 REPORT ON THE
                 U.S. Copyright Office                                         FILING OR DETERMINATION OF AN
              101 Independence Ave., S.E.                                             ACTION OR APPEAL
                Washington, D.C. 20559                                             REGARDING A COPYRIGHT


        In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or
appeal has been filed on the following copyright(s):
                                                                  COURT NAME AND LOCATION
 [X] ACTION                [ ] APPEAL                             U.S. District Court, Western District of Michigan
 DOCKET NO.                        DATE FILED                     399 Federal Building 110 Michigan St NW Grand Rapids, MI
                                   July 16, 2024                  49503
                                                                  Grand Rapids Michigan 49503
 PLAINTIFF                                                                 DEFENDANT
 MDV Photo LLC                                                             124 Grand Holdings, Inc. d/b/a Stikwood, Wayfair LLC,
                                                                           WAL-MART.COM USA, LLC, The Home Depot, Inc.,
                                                                           Williams-Sonoma, Inc, Hardwood Solutions LLC and
                                                                           Overstock.com, Inc.,
       COPYRIGHT
                                                            TITLE OF WORK                                         AUTHOR OR WORK
     REGISTRATION NO

 1 VA 2-266-627                                                                                               MDV Photo LLC
 2
 3

In the above-entitled case, the following copyright(s) have been included:
 DATE INCLUDED                     INCLUDED BY
                                         [ ] Amendment                [ ] Answer             [ ] Cross Bill        [ ] Other Pleading
       COPYRIGHT
                                                            TITLE OF WORK                                         AUTHOR OR WORK
     REGISTRATION NO
 1
 2
 3

        In the above-entitled case, a final decision was rendered on the date entered below. A copy of the
order or judgment together with the written opinion, if any, of the court is attached.
 COPY ATTACHED                                            WRITTEN OPINION ATTACHED                              DATE RENDERED

         [ ] Order           [ ] Judgment                        [ ] Yes            [ ] No


 CLERK                                                    (BY) DEPUTY CLERK                                     DATE



                     1) Upon initiation of action, mail   2) Upon filing of document adding                  3) Upon termination of action
                       copy to Register of Copyrights       copyright(s) mail copy to Register of               mail copy to Register of
 DISTRIBUTION                                               Copyrights                                          Copyrights
                     4) In the event of an appeal, forward copy to Appellate Court                5) Case File Copy
